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14                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
15                             WESTERN DIVISION
16
     LINDA N. STEINMAN,                   No. 2:22-cv-01398-ADS
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                    Plaintiff,
18
                                          JUDGMENT OF REMAND
     v.
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     KILOLO KIJAKAZI,
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     Acting Commissioner of Social
21   Security,
22                  Defendant.
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Case 2:22-cv-01398-ADS Document 18 Filed 06/24/22 Page 2 of 2 Page ID #:42



1          The Court having approved the parties’ Stipulation to Remand for Further
2    Proceedings Pursuant to Sentence Four of 42.U.S.C. § 405(g) and for Entry of
3    Judgment in Favor of Plaintiff (“Stipulation to Remand”) lodged concurrent with
4    the lodging of the within Judgment of Remand, IT IS HEREBY ORDERED,
5    ADJUDGED AND DECREED that the above-captioned action is remanded to the
6    Commissioner of Social Security for further proceedings consistent with the
7    Stipulation to Remand.
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     DATED: June 24, 2022                     /s/ Autumn D. Spaeth
                                          _______________________________
9                                         HON. AUTUMN D. SPAETH
                                          UNITED STATES MAGISTRATE JUDGE
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